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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH DAKOTA
                                    SOUTHERN DIVISION


SAMUEL LEEK SALPATORIA,                                              4:21-CV-04037-LLP

                                 Plaintiff,

                vs.                                       ORDER DISMISSING COMPLAINT FOR
                                                              FAILURE TO PROSECUTE
CHAD WINKEL, OFFICER; JOSEPH LARSON,
OFFICER; CATHERINE ANNE WOOD, TEE
ARCHAMBEAU, JOSHUA FELOY, ANGELA
STIENCKE, STEPHANIE HARMINTON,
JOSHUA KELIMEK, KIM IPPOICOTTA,
REBECCA SCHIELFFER, ROBERT KEVIN, LT.
MARY, LT. MIKE, OFFICER GOURG,

                                 Defendants.


       Plaintiff, Samuel Leek Salpatoria, filed a pro se civil rights lawsuit under 42 U.S.C.

§ 1983. Doc. 1. This Court ordered Salpatoria to file a certified prisoner trust account report so

this Court could consider his motion for leave to proceed in forma pauperis. Doc. 19. Salpatoria

had until May 10, 2021, to file a certified prisoner trust account report or pay the full filing fee.

Id. This Court noted that Salpatoria’s failure to comply would result in the dismissal of his

lawsuit. Id. The time has now passed and Salpatoria has not complied with this Court’s order.

       Accordingly, it is ORDERED:

       1. That Salpatoria’s complaint is dismissed for failure to prosecute.

       DATED May , 2021.

                                               BY THE COURT:

 ATTEST                                        __________________________________________
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                                               United States District Judge
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